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Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      JOINT DECLARATION OF DEREK W.
                                               LOESER AND LESLEY E. WEAVER
ALL ACTIONS                                    REGARDING FEES AND COSTS
                                               INCURRED DUE TO SANCTIONABLE
                                               MISCONDUCT

                                               Judge: Hon. Vince Chhabra
                                               Courtroom: 4, 17th Floor




J. DECL. RE. FEES AND COSTS                                                    MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                          CASE NO. 18-MD-02843-VC
       I, Derek W. Loeser, and I, Lesley E. Weaver, declare and state as follows:

       1.      Derek W. Loeser is a partner at the law firm of Keller Rohrback L.L.P. and

Lesley E. Weaver is a partner at the law firm of Bleichmar Fonti & Auld LLP. We are Co-Lead

Counsel for Plaintiffs in the above-captioned matter.

       2.      We have personal knowledge of the facts set forth herein and, if called as a

witness, could and would testify competently to them.

       3.      This declaration submits testimony and evidence to support the costs and attorney

fees sought as sanctions in response to the Court’s request. ECF No. 1073. Where testimony or

evidence is submitted by only one of the above declarants, this declaration so states.

  I.        COLLECTING, REVIEWING, AND SELECTING THE BILLING RECORDS
       4.      The billing records that support the fees sought are maintained in the ordinary

course of each firm’s business and were maintained contemporaneously by each attorney and

staff member working on the case. The Exhibits attached to this declaration that contain relevant

billing records are being submitted for in camera review and will be served on Facebook’s

counsel subject to counsel’s agreement that such service will not waive work-product or any

other privileges.

       5.      The records submitted represent only a portion of the time Plaintiffs spent on

discovery related to ADI and the Named Plaintiffs’ data, and a small fraction of Plaintiffs’ total

time on this case. Conscious of the but-for standard of Goodyear Tire & Rubber Co. v. Haeger,
137 S. Ct. 1178 (2017), Plaintiffs have been careful to submit only that time that they are

confident was caused specifically by the misconduct associated with the ADI and the Named

Plaintiffs’ data, rather than from discovery more generally or from delays that were not

associated solely with the relevant discovery misconduct.

       6.      Keller Rohrback and Bleichmar Fonti & Auld previously collected time records

that were the basis for the total amount of attorneys’ fees they sought for misconduct related to

ADI and Named Plaintiffs’ Data in Plaintiffs’ initial motion for sanctions, filed March 14, 2022.
ECF No. 1050-1. However, there are slight discrepancies between the relevant fees sought in


J. DECL. RE. FEES AND COSTS                      1                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                  CASE NO. 18-MD-02843-VC
Plaintiffs’ initial motion and some of the fees sought here for the period covered by the initial

motion. Those discrepancies are because Plaintiffs are seeking fees for a more limited set of

timekeepers and because those timekeepers re-reviewed their time records in support of this

submission.

         7.     Plaintiffs decided to exclude from consideration all billing records from non-

attorney timekeepers. Most of the time that non-attorney timekeepers spent on discovery related

to the ADI or the Named Plaintiffs’ data was not spent on tasks related to the discovery dispute

itself. Non-attorney professionals, instead, were largely tasked with reviewing documents or

other assignments that Plaintiffs would have had to do even if Facebook had not engaged in
misconduct.1 While the blanket exclusion of non-attorney time likely excluded some

compensable time at the margins, it also greatly simplified the process of gathering and

reviewing time. See Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“A request for attorney’s

fees should not result in a second major litigation.”).

         8.     If, at any point during the review of the billing records, it was determined that an

entry was duplicative, that entry was eliminated or reduced through the exercise of billing

discretion. In reviewing Plaintiffs’ billing records, at first glance, there may appear to be

duplicative entries submitted for ADI and Named Plaintiffs’ data; however, the compensation

sought is not duplicative. Rather, because in many instances attorneys performed tasks in

furtherance of more than one subject matter (e.g., preparing for or attending a mediation session
at which both ADI and Named Plaintiff data were negotiated), time was carefully apportioned by

the relevant timekeeper to each subject matter so as not to seek duplicative compensation for any

given task.

         9.     Plaintiffs used the following processes to collect and review billing records from

the attorneys whose time was considered.




1
    Plaintiffs have not sought compensation for reviewing ADI and Named Plaintiff documents
    produced by Facebook.
J. DECL. RE. FEES AND COSTS                       2                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
A.        Fees due to misconduct associated with the ADI or the Named Plaintiffs’ data

          10.    First, attorneys working at our direction collected all billing records from the

periods of time during which additional work was necessitated by sanctionable misconduct

arising from the two relevant discovery disputes. (In what follows, this declaration will generally

refer to that work as “compensable work.”)

          11.    Next, the attorneys reviewed the collected billing records and provisionally put

each billing record into four categories: (1) fully compensable work; (2) non-compensable work;

(3) partially compensable work; and (4) unsure.

          12.    Billing records falling into the second category were excluded from further
review.

          13.    Billing records falling into categories three and four were further reviewed by the

attorney or professional that had created them.

          14.    For a billing record in category three (partially compensable work), the attorney

was asked to make a good-faith assessment of what portion of the billed time—if any—was

devoted to compensable work. They were encouraged to consult past emails or other documents

if doing so would be helpful to making such an assessment.

          15.    For a billing record in category four (“unsure”), the attorney was asked to

determine whether the billing record captured any compensable work. If so, the attorney was to

assess what portion of the billed time was devoted to compensable work.
          16.    Plaintiffs have also ensured that the descriptions of work in the billing records

being submitted are sufficiently descriptive for purposes of the Court’s review.

          17.    Once the billing records had been collected and reviewed, the records that

remained were reviewed once again as a whole.

B.        Fees incurred in the process of seeking sanctions

          18.    A similar process of review was used to select billing records showing the fees

that Plaintiffs incurred in the process of seeking sanctions.




J. DECL. RE. FEES AND COSTS                        3                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                    CASE NO. 18-MD-02843-VC
       19.     A billing record was excluded if it clearly indicated that it recorded time spent

seeking sanctions for misconduct other than the misconduct associated with the ADI and the

Named Plaintiffs’ data.

       20.     Plaintiffs then gathered the other billing records that recorded fees incurred in the

process of seeking sanctions. After totaling these records, they applied an across-the-board

reduction of 40% to the associated fees. This is explained in more detail below. See infra Part V.

                       II.     RELEVANT ATTORNEYS AND RATES
       21.     The ADI and the Named Plaintiffs’ data discovery sought by Plaintiffs was

crucial to the case. The ADI concerned third-party misuse of Facebook user content nd
information, and was an investigation launched because of the Cambridge Analytica scandal.

Named Plaintiff data is likewise central to the claims at issue in this case. In order to understand

the nature and extent of the improper sharing of Facebook content and information, it was

necessary to understand the nature and extent of Facebook user content and information that was

selected by Facebook. Both of these categories of discovery were fact-intensive, and often

highly technical. Moreover, Facebook vigorously resisted the discovery concerning both of these

topics through means and methods that caused considerable delay and a needless increase of

work and expense. Consequently, litigating the disputes has required the work of a large team of

attorneys, professionals and staff from both Keller Rohrback and Bleichmar Fonti & Auld.

       22.     Profiles of the relevant Keller Rohrback and Bleichmar Fonti & Auld attorneys
are attached hereto as, respectively, Exhibits 1 and 2. These profiles are taken from Keller

Rohrback’s and Bleichmar Fonti & Auld’s resumes.

A.     Keller Rohrback

       23.     This section of the declaration is submitted by Derek W. Loeser.

       24.     Keller Rohrback L.L.P. has over 60 attorneys in six cities and its Complex

Litigation practice group has spent nearly 30 years fighting corporate abuse and pursuing

litigation on behalf of consumers, whistleblowers, government entities, small businesses,
institutional investors, and employees in many of the major class action cases litigated in the


J. DECL. RE. FEES AND COSTS                       4                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
United States. The firm prides itself on serving the public interest by taking on cases that make a

tangible difference in our communities. To date, Keller Rohrback has recovered over $23.5

billion for the individual, institutional and governmental plaintiffs the firm represents.

       25.     Keller Rohrback attorneys have, in recent years, been appointed to leadership

roles in numerous high-profile cases, including In re National Opiate Litigation, MDL 2804, an

important MDL seeking to hold opioid manufacturers and distributors accountable for

devastating communities across the country; In re Juul Labs, Inc., Marketing, Sales Practices,

and Products Liability Litigation, MDL 2913 (N.D. Cal.), another case with important public

health implications relating to the marketing of Juul e-cigarette products; Jabbari v. Wells Fargo,
No. 15-02159 (N.D. Cal.), the Wells Fargo unauthorized account consumer class action; In re:

EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices & Antitrust Litigation, MDL

No. 2785 (D. Kan.), the MDL concerning EpiPen price-gouging allegations; In Re: Blackbaud,

Inc., Customer Data Breach Litigation, MDL 2972 (D.S.C.), the MDL regarding Blackbaud’s

massive data breach; and In re: T-Mobile Customer Data Security Breach Litigation, MDL 3019

(W.D. Mo.), the MDL regarding T-Mobile’s massive data breach.

       26.     The Keller Rohrback attorneys and legal professionals for whose work

compensation is sought are:

               A.      Derek W. Loeser, a partner with over 28 years of professional experience

       whose current hourly rate is $1,100;
               B.      Cari Campen Laufenberg, a partner with over 19 years of professional

       experience whose current hourly rate is $1,010;

               C.      David Ko, a partner with over 15 years of professional experience whose

       currently hourly rate is $815;

               D.      Benjamin Gould, a partner with over 15 years of professional experience

       whose current hourly rate is $815;

               E.      Christopher Springer, an associate attorney with over 7 years of
       professional experience whose current hourly rate is $650;


J. DECL. RE. FEES AND COSTS                       5                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
               F.     Adele A. Daniel, an associate attorney with approximately five years of

       professional experience whose current hourly rate is $585;

               G.     Emma Wright, an associate attorney with approximately two years of

       professional experience whose current hourly rate is $550.

       27.     Keller Rohrback’s hourly rates are reviewed and adjusted annually. Based on our

regular monitoring of prevailing market rates charged by attorneys of comparable skill,

experience, and qualifications in the San Francisco Bay Area and other major metropolitan areas,

we adjust our rates so that they are in line with those charged by counsel preforming similar

national class action work. Our rates are substantially lower than a number of firms, but
consistent with many others.

       28.     Fee awards supported by Keller Rohrback’s hourly rates and corresponding

lodestar have regularly been approved in class action settlements. Recent examples include

Ryder et al. v. Wells Fargo Bank, N.A., Case No. 1:19-cv-638, Docket No. 57 (S.D. Ohio Jan. 25,

2022); In re: EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust

Litigation, MDL No. 2785, Docket. No. 2506 (D. Kan. Nov. 17, 2021); Fox et al. v. Iowa Health

System, Case No. 3:18-cv-00327, Docket No. 115 (W.D. Wis. Mar. 4, 2021); In re Chrysler-

Dodge-Jeep “EcoDiesel” Marketing, Sales, Practices, & Products Liability Litig., MDL No.

2777, Docket No. 561 (N.D. Cal. May 3, 2019); and four separate settlements in In re:

Volkswagen “Clean Diesel” Marketing, Sales Practices, & Products Liability Litig., MDL No.
2672 (N.D. Cal.): Audi C02 Cases, MDL 2672, Docket No. 7244 (Mar. 2, 2020); 3.0-liter TDI

Settlement, 2017 WL 3175924 (July 21, 2017); Bosch Settlement, 2017 WL 2178787 (May 17,

2017); and 2.0-liter TDI Settlement, 2017 WL 1047834 (Mar. 17, 2017).

B.     Bleichmar Fonti & Auld

       29.     This section of the declaration is submitted by Lesley E. Weaver.

       30.     Bleichmar Fonti & Auld LLP has over 25 attorneys based out of offices in four

cities. It has recovered more than $17 billion for investors and consumers since the firm was




J. DECL. RE. FEES AND COSTS                     6                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                 CASE NO. 18-MD-02843-VC
formed in 2014. Its achievements have been profiled in publications including the Wall Street

Journal and the New York Times.

       31.     Bleichmar Fonti & Auld attorneys have, in recent years, been selected for

leadership roles in numerous high-profile cases, including groundbreaking data privacy cases in

addition to this one, including Calhoun v. Google LLC, No. 20-cv-05146 (N.D. Cal.), a

nationwide class action alleging that Google collects users’ data when using the Chrome browser

outside of synched mode, and In re Google RTB Consumer Privacy Litigation, No. 21-cv-02155

(N.D. Cal.), a nationwide class action alleging that’s Google’s digital ad auction system violates

the company’s contractual promise not to share or sell its account holders’ personal information;
consumer class actions including In re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

Practices and Products Liability, No. 17-md-02777 (N.D. Cal.), multidistrict litigation

concerning Fiat Chrysler Automobiles’ alleged cheating on emissions testing of Dodge and Jeep

trucks marketed as environmentally friendly; and numerous securities fraud cases, including The

Police Retirement System of St. Louis v. Granite Construction Inc., No. 19-cv-04744 (N.D. Cal.),

In re Teva Securities Litigation, No. 17-cv-00558 (D. Conn.), and Owen v. Elastos Foundation,

No. 19-cv-5462 (S.D.N.Y.).

       32.     The BFA attorneys and legal professionals for whose work compensation is

sought are:

               A.     Lesley E. Weaver, a partner at BFA with more than 25 years of
       professional experience whose currently hourly rate is $1,050;

               B.     Anne Davis, a partner at BFA with more than 14 years of professional

       experience whose current hourly rate is $800;

               C.     Matthew Melamed, a partner at BFA with more than 14 years of

       professional experience whose current hourly rate is $800;

               D.     Matthew Montgomery, formerly of counsel at BFA with more than 27

       years of professional experience whose hourly rate is $740;




J. DECL. RE. FEES AND COSTS                      7                                    MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                 CASE NO. 18-MD-02843-VC
               E.      Angelica Ornelas, an associate at BFA with more than 10 years of

       professional experience whose current hourly rate is $690;

               F.      Joshua Samra, an associate at BFA with more than 6 years of professional

       experience whose current hourly rate is $605; and

               G.      Sara Pildis Simnowitz, special counsel at BFA with more than 16 years of

       professional experience whose current hourly rate is $780.

       33.     Bleichmar Fonti & Auld’s hourly rates are reviewed and adjusted annually. Based

on our regular monitoring of prevailing market rates charged by attorneys of comparable skill,

experience, and qualifications in the San Francisco Bay Area and other major metropolitan areas,
we adjust our rates so that they are in line with those charged by counsel preforming similar

national class action work. Our rates are substantially lower than a number of firms and

consistent with many others.

       34.     Fee awards supported by Bleichmar Fonti & Auld’s hourly rates and

corresponding lodestar have been approved in numerous class action settlements: In re Chrysler-

Dodge-Jeep EcoDiesel Marketing, Sales Practices & Products Liability, No. 17-md-02777 (N.D.

Cal.), ECF No. 561 (May 3, 2019); five separate settlements in In re: Volkswagen “Clean

Diesel” Marketing, Sales Practices, & Products Liability Litig., MDL No. 2672 (N.D. Cal.)—

Audi C02 Cases, MDL 2672, Docket No. 7244 (Mar. 2, 2020); 3.0-liter TDI Settlement, 2017

WL 3175924 (July 21, 2017); Bosch Settlement, 2017 WL 2178787 (May 17, 2017); 2.0-liter
TDI Settlement, 2017 WL 1047834 (Mar. 17, 2017), and Porsche Gasoline Settlement, Docket

No. 8088 (Nov. 9, 2022); The Police Retirement System of St. Louis v. Granite Construction

Inc., No. 19-cv-04744 (N.D. Cal.), ECF No.303 (Mar. 17, 2022); and In re Teva Securities

Litigation, No. 17-cv-00558 (D. Conn.), ECF No. 963 (June 2, 2022).

                III.    FEES CAUSED BY ADI-RELATED MISCONDUCT
       35.     Since Plaintiffs first served the request for production seeking ADI documents in

November 2019, they have met and conferred with Facebook concerning the issue numerous
times; filed a motion to compel in February 2021 and additional briefs related to the motion in


J. DECL. RE. FEES AND COSTS                     8                                    MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                CASE NO. 18-MD-02843-VC
July and August 2021; engaged in several extended mediation sessions led by the discovery

mediators in the attempt to resolve the dispute; and argued the issue before Judge Corley, Special

Master Garrie, and Judge Corley again. Between them, Judge Corley and Special Master Garrie

have issued six orders on the production of ADI documents. From September 2021, when Judge

Corley issued her ADI order, through February 2, 2022, when the parties filed their last joint

statement before the hearing during which the Court invited a sanctions motion, Facebook

produced only 50 ADI documents.

        36.    On February 10, 2022, the court directed Facebook to produce all ADI-related

documents within 21 days. Hr’g Tr. at 13 (Feb. 10, 2022). On March 10, Facebook told Plaintiffs
it had completed the ADI production. During meet and confers in late March and early April,

however, Facebook reversed course, informing Plaintiffs of previously undisclosed limitations

on its ADI production.

        37.    Meanwhile, the Court again directed Facebook to produce all ADI-related

documents, this time by April 27, 2022. See Hr’g Tr. at 7 (Mar. 30, 2020). By April 27, however,

Facebook had completed production only of ADI documents from a limited subset of 26

custodians. See ECF No. 939 at 8 (Facebook conceding on June 3 that it had collected from only

26 “ADI custodians” and stating it would not complete production from “MDL custodians”—

i.e., all 83 custodians—by June 15).

        38.    On June 9, 2022, based on Facebook’s representation that ADI production would
be completed by June 15, the Court set the June 15 as the new date by which Facebook was to

complete ADI production. On July 17, Facebook informed Plaintiffs that it was going to produce

more than 1,200 ADI documents previously withheld as privileged.

        39.    Plaintiffs litigated issues related to the ADI from the first discovery request in

November 2019 through the summer of 2022. Substantial time and costs have been expended on

that effort.

        40.    Plaintiffs seek reimbursement for certain work performed between April 7, 2021
to August 26, 2022, the date the Court granted in part the Parties’ request to stay proceedings


J. DECL. RE. FEES AND COSTS                      9                                      MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
while they finalize the settlement. ECF No. 1015. The misconduct that caused this work and the

basis for this time period is set out in detail in Plaintiffs’ prior papers and in the supplemental

brief that this declaration accompanies.

        41.     True and correct copies of billing records showing fees incurred due to

misconduct related to the ADI have been submitted for in camera review as Exhibit 3

(Bleichmar Fonti & Auld) and Exhibit 4 (Keller Rohrback). The total hours and fees shown by

those exhibits are as follows:

                                 Total Hours              Total Fees
                                    518.2                $435,803.00

               IV.    FEES CAUSED BY MISCONDUCT RELATED TO THE
                             NAMED PLAINTIFFS’ DATA
        42.     Since Plaintiffs served the requests for production seeking the Named Plaintiffs’

data in November 2019, they have met and conferred with Facebook concerning the issue dozens

times, filed a motion to compel in September 2020, conducted preliminary depositions pursuant

to Rule 30(b)(6), engaged in numerous extended sessions led by the discovery mediators in the

attempt resolve the dispute, filed another motion to compel in October 2021, argued the issue

before Judge Corley in October 2020 and January 2022, submitted briefs to the Special Master,

and participated in on-the-record hearings with the Special Master and Facebook employees.

Between them, Judge Corley and Special Master Garrie issued more than a dozen orders related
to the Named Plaintiffs’ data, starting with Judge Corley’s October 2020 order defining the

scope of discoverable Named Plaintiffs’ data, and the Special Master has conducted half- or full-

day hearings with Facebook employees to determine where Facebook stores the Named

Plaintiffs’ data.

        43.     On October 29, 2020, Judge Corley issued an order holding that the “discoverable

user data at issue” includes (1) Named Plaintiff data “collected from a user’s on-platform

activity”; (2) Named Plaintiff data “obtained from third parties regarding a user’s off-platform

activities”; and (3) Named Plaintiff data “inferred from a user’s on or off-platform activity.” ECF
No. 557 at 2. Despite this order, and despite subsequent orders from Judge Corley and the

J. DECL. RE. FEES AND COSTS                       10                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                    CASE NO. 18-MD-02843-VC
Special Master, Facebook continued to dispute the scope of Named Plaintiff data that was

discoverable. ECF No. 1050-1 at 31-34; ECF No. 1050-2 at 14-18; ECF No. 1050-3 at 12-16.

       44.     Plaintiffs litigated issues related to the Named Plaintiff data from the first

discovery request in November 2019 through August 26, 2022, the date the Court stayed

proceedings so that the parties could finalize the settlement. ECF No. 1015 Substantial time and

costs have been expended on that effort. Plaintiffs seek reimbursement for certain work

performed between November 29, 2020 and August 26, 2022. The misconduct that caused this

work and the basis for the selected time period is set out in detail in Plaintiffs’ prior papers and

in the supplemental brief that this declaration accompanies.
       45.     True and correct copies of billing records showing fees incurred due to

misconduct related to the Named Plaintiffs’ data have been submitted for in camera review as

Exhibit 5 (Bleichmar Fonti & Auld) and Exhibit 6 (Keller Rohrback). The total hours and fees

shown by those exhibits are as follows:

                              Total Hours                 Total Fees
                                 794.3                   $655,160.00

                    V.        FEES INCURRED IN SEEKING SANCTIONS
       46.     Seeking sanctions in this action was a massive undertaking. Plaintiffs had to

review several years of complex litigation records that had produced a huge collection of filings,

correspondence, discovery, and other documents. Plaintiffs conducted a painstaking review to
ensure that the decisions that Plaintiffs made on the scope of a sanctions motion were as

principled, thoughtful, serious, and well-informed as possible. For the same reasons, internal

deliberations on the sanctions motion were, at every step of the process, extensive and in-depth

and informed by thorough legal research. No decisions were made lightly.

       47.     Due to the sheer size of the litigation, some litigating attorneys had grown to

know more about certain aspects of the litigation than others. Thus, the full team of attorneys

were required to be part of the process of seeking sanctions.




J. DECL. RE. FEES AND COSTS                       11                                    MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
         48.    The careful review of time entries and expenses was itself a time-consuming

enterprise, especially given the duration and complexity of the litigation. Because that review

was intimately tied to legal decisions about the scope of our sanctions motion, review of time

and expenses was not something that could be fully delegated to non-attorneys.

         49.    Replying to Facebook’s response to the sanctions motion was also time-

consuming, requiring a further search of the record, further legal research, and further internal

discussion.

         50.    After the filing of the initial sanctions motion in March, Plaintiffs learned

additional facts that informed their reply in support of their motion (filed in late April) and their
supplemental brief in support of their motion (filed in early August). These additional facts

included facts related to Facebook’s misconduct concerning the ADI and Named Plaintiffs’ data.

Properly incorporating these facts into the reply and supplemental brief required still more work.

         51.    Because the supplemental brief raised numerous issues that had arisen since

March, it required considerable work and was not merely a re-run of the initial briefing.

         52.    Preparation for the September hearing on the sanctions motion required much

time as well, especially given the months that had passed since the filing of the initial motion in

March.

         53.    In Plaintiffs’ view, sanctions for misconduct associated with the ADI and the

Named Plaintiffs’ data were the most important portions of their sanctions motion. These were
two of the three issues that the Court specifically identified when it first raised the possibility that

Plaintiffs should seek sanctions against Facebook and its counsel. Hr’g Tr. at 4-8 (Feb. 10,

2022). They were also, by far, the portions that required the most time and effort.

         54.    Of course, not all time expended in seeking sanctions was expending in seeking

sanctions specifically for misconduct related to the ADI or the Named Plaintiffs’ data. But

billing records related to seeking sanctions almost uniformly did not distinguish between time

seeking sanctions for different kinds of misconduct.




J. DECL. RE. FEES AND COSTS                       12                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                    CASE NO. 18-MD-02843-VC
       55.     Plaintiffs therefore needed to determine what time was attributable to seeking

sanctions for the relevant kinds of misconduct. After discussion of the costs and benefits of

different approaches, Plaintiffs decided to make an across-the-board cut of 40% to all non-

excluded billing entries associated with seeking sanctions. To reach that number, they looked at

the portion of the argument in Plaintiffs’ sanction briefs that was composed of argument related

to the ADI and the Named Plaintiffs’ data: out of 99 pages of argument, argument on the ADI

and the Named Plaintiffs’ data took up 55 pages, or slightly more than 60%. Plaintiffs believe

that figure likely understates the amount of time that they devoted seeking sanctions for

misconduct associated with the ADI and the Named Plaintiffs’ data, since it does not take into
account the vast record that had to be reviewed to produce the arguments related to the ADI and

the Named Plaintiffs’ data. It is a conservative approximation.

       56.     Plaintiffs also incurred fees in preparing this brief and the accompanying

declaration. They have been careful not to seek fees for any work that duplicated what was

already done in connection with the earlier sanctions briefing.

       57.     True and correct copies of the billing records gathered pursuant to the process

outlined above in Section I.B are submitted for in camera review as Exhibit 7 (Bleichmar Fonti

& Auld) and Exhibit 8 (Keller Rohrback).

       58.     The total fees in Exhibits 7 and 8 are $1,156,127.50; total hours are 1371.4. Sixty

percent of $1,156,127.50, the figure for total fees, is $693,676.50.

                                VI.     COSTS PAID TO JAMS
       59.     Keller Rohrback and Bleichmar Fonti & Auld have also incurred substantial costs

in connection with payments made to JAMS for services provided by Judge Gail Andler as

discovery mediator, and Daniel Garrie, both as a discovery mediator and a Special Master.

       60.     The parties agreed to retain the services of Judge Andler and Daniel Garrie in

March 2021. The parties agreed to split the costs for Judge Andler and Mr. Garrie’s services

evenly. Plaintiffs’ total share of JAMS expenses for their services as discovery mediators is
$197,307.28.


J. DECL. RE. FEES AND COSTS                      13                                   MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                 CASE NO. 18-MD-02843-VC
         61.   The Court appointed Mr. Garrie as Special Master on July 20, 2021, and ordered

that the parties split his costs evenly. ECF No. 709. Plaintiffs’ total share of JAMS expenses for

his service as Special Master is $1,172,704.96.

         62.   In view of the complexity and importance of the disputes over ADI and the

Named Plaintiffs’ data, Plaintiffs believe that without those disputes, Judge Corley would not

have suggested, and the parties would not have obtained, the services of discovery mediators.

Plaintiffs therefore believe that the misconduct associated with ADI and Named Plaintiffs data

here is likely the primary cause of all the discovery-mediation expenses that Plaintiffs incurred.

As an alternative, however, we have employed a more conservative methodology to select a
subset of discovery-mediation expenses for reimbursement. That methodology is explained

below.

         63.   It seems even less likely that Plaintiffs would have pushed for the appointment of

a Special Master, and the Court appointed one, without the misconduct related to ADI and the

Named Plaintiffs’ data. For that reason, Plaintiffs submit that they are entitled under Goodyear to

reimbursement of all of their Special Master expenses. Again, however, we have used an

alternative, more conservative methodology (explained below) to select a subset of Special

Master expenses for reimbursement.

A.       Process of reviewing and selecting JAMS expenses

         64.   Since March 2021, JAMS has provided Keller Rohrback and Bleichmar Fonti &
Auld with two sets of bills—one for services rendered by Judge Andler and Mr. Garrie as

discovery mediators, and another for services rendered by Mr. Garrie as Special Master. In

connection with his role as Special Master, and at the approval of both parties, Special Master

Garrie also retained the services of a law clerk, Michael Mann.

         65.   While some of the invoice entries provided by JAMS specifically identify

whether the task by Judge Andler, Mr. Garrie, and Mr. Mann involved a particular topic, many

entries do not. Many of the entries also involved time incurred on more than one issue.




J. DECL. RE. FEES AND COSTS                       14                                  MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                 CASE NO. 18-MD-02843-VC
       66.     Where a JAMS entry indicated on its face, or where there was context showing,

that it did not involve a compensable topic, such an entry was not included in the expenses for

which reimbursement is sought through this supplemental submission.

       67.     Where a JAMS entry indicated on its face, or where there was context showing,

that it solely involved a compensable topic, that entry was included in the expenses for which

reimbursement is sought.

       68.     For the rest of the entries, Plaintiffs undertook a careful process of determining

how much of the entry was a compensable expense.

       69.     As the first analytical step in that determination, Plaintiffs separated mediation-
related expenses and special-master expenses.

       1. Expenses for discovery mediation
       70.     For mediation-related expenses, certain chronological guideposts were used to

exclude expenses from further review. In 2021, mediation of the ADI dispute could not have

continued past June 2, see ECF No. 699, although it started up again in 2022. With respect to the

Named Plaintiffs’ data, the mediators declared an impasse on that issue (i.e., declared that further

mediation would be fruitless) on October 6, 2021. There could not have been any mediation of

that subject after that date, although our records indicate that mediation of the subject started up

again after January 12, 2022, when Judge Corley affirmed Special Master Garrie on the proper

scope of discovery into the Named Plaintiffs’ data.
       71.     The remaining mediation expenses—i.e., those mediation expenses that were not

chronologically excluded—were winnowed down in the following manner.

               A.      During discovery mediation, the parties would suggest certain topics be

       covered at given mediation sessions. From these suggestions, the mediators would select

       an agenda for a mediation session. For mediation expenses from 2021, Plaintiffs

       consulted mediation agendas for mediation sessions, and other mediation submissions, to

       estimate how much of a given invoice entry involved a compensable topic.




J. DECL. RE. FEES AND COSTS                      15                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                   CASE NO. 18-MD-02843-VC
               B.      Next, the parties had begun using a “mediation tracker” in January 2022 to

       keep track of progress (or lack thereof) on the discovery issues that were being mediated.

       Thus, when there was a mediation tracker available, Plaintiffs calculated the time spent

       on topics related to the sanctions motion by first looking to the parties’ jointly submitted

       mediation tracker, which was submitted to the mediators weekly. A given mediation

       expense was divided by the total number of topics in the mediation tracker covering the

       date of that expense. That amount was then multiplied by the number of topics in the

       mediation tracker that were associated with the Named Plaintiffs’ Data or the ADI.

       Although not every topic on the mediation tracker was addressed in every mediation, this
       method of calculation provided a conservative approximation of mediation expenses

       associated with Named Plaintiffs’ Data or the ADI.

       2. Expenses related to the Special Master
       72.     Some Special Master invoice entries stated on their face that they related to a

compensable topic. Such entries were included in this submission in their entirety.

       73.     When an entry did not state on its face that it related only to a compensable topic,

Plaintiffs typically assumed that the entry at most could be partially compensable. To

categorically exclude some of these entries from further consideration, Plaintiffs used certain

chronological guideposts. For the remaining entries, Plaintiffs carefully reviewed historical

communications to and from, and the parties’ submissions to, the Special Master. If the
communications and submissions indicated that the entry likely related (at least in part) to a

compensable topic, Plaintiffs included only a portion of the expense here. When an invoice entry

referred expressly to several topics, one or more of which was compensable, the general

approach was to prorate the expense accordingly.

B.     Reimbursement sought

       74.     For invoices Keller Rohrback and Bleichmar Fonti & Auld received and paid in

connection with Judge Andler and Mr. Garrie’s role as discovery mediators, Plaintiffs seek
reimbursement of $30,678.52. These amounts represent a conservative estimate of fees for the


J. DECL. RE. FEES AND COSTS                     16                                     MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                  CASE NO. 18-MD-02843-VC
time Judge Andler and Mr. Garrie spent as discovery mediators on issues that were required to

be mediated due to misconduct associated with the ADI or Named Plaintiffs’ Data. This time

includes reviewing the parties’ mediation submissions and agendas, preparing for mediation

sessions, attending mediation sessions, reviewing the parties’ correspondence, and

communicating directly with the parties.

       75.     For invoices Keller Rohrback and Bleichmar Fonti & Auld received and paid in

connection with Mr. Garrie’s role as Special Master, Plaintiffs seek reimbursement of

$233,819.26. These amounts represent a conservative estimate of fees for the time Mr. Garrie

and his law clerk Michael Mann spent resolving disputes created by misconduct associated with
the ADI or Named Plaintiffs’ data, as well as the Special Master’s review of the briefing on

sanctions. This time includes reviewing the parties’ briefs and exhibits, preparing for hearings,

conducting hearings, conducting research, drafting and issuing orders, and reviewing in camera

documents.

       76.     To substantiate costs sought, Plaintiffs attach several exhibits. Attached hereto as

Exhibit 9 are all the billing statements that Plaintiffs have received from JAMS. Attached hereto

as Exhibit 10 is a spreadsheet showing the subset of Special Master expenses for which Plaintiffs

seek reimbursement. Attached hereto as Exhibit 11 is a spreadsheet showing the subset of

discovery mediation expenses for which Plaintiffs seek reimbursement.

       77.     The total amount JAMS expenses sought here is $264,497.78.
       We declare under penalty of perjury that the foregoing is true and correct to the best of

our knowledge.


       Executed on November 18, 2022.




       By:                                           By:
                   Derek W. Loeser                             Lesley E. Weaver

       At:     Seattle, Washington                   At:     Oakland, California


J. DECL. RE. FEES AND COSTS                     17                                    MDL NO. 2843
INCURRED DUE TO MISCONDUCT                                                 CASE NO. 18-MD-02843-VC
